   4:05-cr-03029-DLP   Doc # 25   Filed: 04/27/05   Page 1 of 1 - Page ID # 53



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )
                                     )                 4:05CR3029
           v.                        )
                                     )
BOBBIE D. DORMAN,                    )
JEFFREY D. MATTSON,                  )                    ORDER
                                     )
                 Defendants.         )



     IT IS ORDERED,

     Defendants’ motions for time, filings 23 and 24, are granted
and the deadline as to the above-named defendants for filing
pretrial motions is extended to May 10, 2005.


     DATED this 27th day of April, 2005.


                                   BY THE COURT:


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
